                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:08-cr-15


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
JAMAR TURNER (3)                         )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine triggered by the Fair Sentencing Act of 2010. (Doc. No. 92).

       The defendant was sentenced to 120 months’ imprisonment pursuant to the mandatory

minimum sentence prescribed in 21 U.S.C. § 841(b)(1)(B), based on his guilty plea to Count Five

charging possession with intent to distribute 50 grams or more of a mixture and substance

containing cocaine base.1 (Doc. No. 1: Indictment; Doc. No. 40: Plea Agreement; Doc. No. 78:

Judgment; Doc. No. 79: Statement of Reasons). Accordingly, the change in the guidelines does

not affect the defendant’s sentence. Neal v. United States, 516 U.S. 284, 296 (1996) (retroactive

amendment to guidelines does not alter statutory mandatory minimum); United States v. Hood,

556 F.3d 226, 233 (4th Cir. 2009).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




       1
          The government orally withdrew the 21 U.S.C. § 851 notice during the sentencing
hearing. (Doc. No. 79: Statement of Reasons at 4).


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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: May 24, 2012




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